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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CATHERINE ROBERTS AND
KRISTEN CLEMENTS,

Plaintiffs,

¥. Civil Action No.: 14-cv-03890

CAESARS ENTERTAINMENT, INC.
D/B/A HARRAB’S PHILADELPHIA
AND CPL, JOANNE DRAGOTTA,

Defendants.

PROPOSED ORDER

AND NOW, this day of , 2014 upon consideration of

Defendant’s, Harrah’s Chester Downs Management Company, LLC d/b/a Harrah’s Philadelphia
Casino & Racetrack (improperly identified as Caesars Entertainment, Inc. d/b/a Harrah’s
Philadelphia) Motion to Dismiss and the Memorandum of Law in support thereof, and Plaintiffs,
Catherine Roberts and Kristen Clement’s, opposition thereto, it is hereby ORDERED that

Defendant’s Motion to Dismiss is GRANTED with prejudice.

BY THE COURT:

Honorable Timothy J. Savage
U.S. District Court Judge for the Eastern
District of Pennsylvania

4835-6282-4734, y. |

